Case 6:07-cr-00103-RBD-LHP Document 235 Filed 01/02/08 Page 1 of 3 PageID 845




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
    UNITED STATES OF AMERICA

    -vs-                                                            Case No. 6:07-cr-103-Orl-31KRS

    WALLACE RAY SMITH (#7)
    _____________________________________


                                                 ORDER

           At trial, the Defendant, Wallace Smith, moved for judgment of acquittal pursuant to Fed. R.

    Crim. P. 29. The Court reserved ruling and the case was submitted to the jury, which returned a guilty

    verdict. Thereafter, Defendant filed a memorandum in support of his motion (Doc. 221) and the

    government responded (Doc. 234).

           In his motion, Defendant contends that the evidence against Smith (as contrasted with Bennett)

    is insufficient to sustain a conviction for conspiracy. The government counters that accepting all

    reasonable inferences that support the jury’s verdict, Smith was a knowing participant in the

    marijuana delivery.

           It is true that the direct evidence against Smith is essentially non-existent. While Smith was

    a passenger in the vehicle, Bennett was the driver and clearly the person “in charge” of the delivery.

    And while Smith’s presence may be a factor, mere presence is not sufficient to support a conspiracy

    conviction. United States v. Jenkins, 779 F.2d 606, 609 (11th Cir. 1986).         The question thus

    becomes, what did Smith know and when did he know it?
Case 6:07-cr-00103-RBD-LHP Document 235 Filed 01/02/08 Page 2 of 3 PageID 846




              During the early morning delivery on May 17th, Smith made only one statement that would

    implicate him.1 And, except for his presence, there is no direct evidence that he overheard the

    incriminating conversations between Bennett and the government agents. Indeed, Smith checked into

    the hotel and went to bed while Bennett accompanied the agents to handle the unloading process.

              However, later that morning, when the truck was returned, Smith made several incriminating

    statements. Significantly, the following exchange occurred between Smith and the confidential

    source:

              CS:             [regarding the truck unloading] . . . it took us, because the two of us it took, it
                              took us all night to unload that damn thing. . . .”

              Smith:          (unintelligible) they, they, they know the truck, they, they know it stunk, they
                              know it’s full of shit . . .

              CS:             Yeah it was loaded from the front, all the way to the back . . .

              Bennett:        . . . money from ah, ah, ah the guy that had the truck.

              CS:             Whose them other guys? They come here with you?

              Smith:          They ah, they follow us, straight behind us . . .

              CS:             Ah, if something happens they speed away and get pulled over . . .

              Smith:          Yeah, yeah, yeah, they get . . . (unintelligible) . . . like ah, I say, we, we, we . . .
                              (unintelligible) . . . we’re with them

              CS:             How many trips you made in this thing?

              Smith:          This is our first one . . .




              1
               CS:     “. . . what them other guys [the chase car] follow you?

           Smith: “Yeah.”
    (Govt. X-3 @ pp. 15-16)
                                                            -2-
Case 6:07-cr-00103-RBD-LHP Document 235 Filed 01/02/08 Page 3 of 3 PageID 847




    (Govt. X-4 @ p. 7)2

            Furthermore, Smith made several statements to law enforcement at the time of the initial traffic

    stop and his arrest which differed from his testimony at trial. Thus, there was sufficient evidence from

    which a jury could reasonably infer that Smith was aware of the illegal contraband being transported.

            It is possible, of course, that Smith did not learn of the illegal nature of the delivery until after

    the fact and thus was not a knowing participant in the conspiracy. But, there is nothing in the record

    that supports this hypothesis.

            In sum, having reviewed the evidence presented to the jury, the Court concludes that, resolving

    all reasonable inferences in the government’s favor, sufficient evidence was presented to support the

    jury’s guilty verdict. It is, therefore

            ORDERED that Defendant’s ore tenus Motion for Acquittal is DENIED.

            DONE and ORDERED in Chambers in Orlando, Florida on January 2, 2008.




    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant
    Wallace Ray Smith (#7)




            2
            Somewhat later, Smith also acknowledged the CS’s statement that “That whole fuckin’ bed
    had to come out, it was a pain in the ass.” (Govt. X-4 @ p. 9).
                                                         -3-
